                     UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF NORTH CAROLINA
                              ASHEVILLE DIVISION


UNITED STATES OF AMERICA                     )       DOCKET NO. 1:05CR257-4
                                             )
               vs.                           )       ORDER FOR DISMISSAL
                                             )
REYMUNDO MONGE RODRIQUEZ                     )


       THIS MATTER is before the Court on the Government’s motion to dismiss the

indictment herein as to the captioned Defendant.

       For cause shown,

       IT IS, THEREFORE, ORDERED that the Government’s motion is ALLOWED, and

the indictment herein is hereby DISMISSED as to the Defendant Reymundo Monge Rodriquez

only without prejudice.

       The Clerk is directed to certify copies of this Order to the Defendant’s counsel, the U.S.

Probation Office, and the United States Attorney's Office.




     Case 1:05-cr-00257-MR-DLH            Document 75        Filed 01/13/06     Page 1 of 2
                      Signed: January 13, 2006




Case 1:05-cr-00257-MR-DLH   Document 75    Filed 01/13/06   Page 2 of 2
